Case 2:11-cr-00002   Document 1795   Filed 10/24/14   Page 1 of 10 PageID #: 4648
Case 2:11-cr-00002   Document 1795   Filed 10/24/14   Page 2 of 10 PageID #: 4649
Case 2:11-cr-00002   Document 1795   Filed 10/24/14   Page 3 of 10 PageID #: 4650
Case 2:11-cr-00002   Document 1795   Filed 10/24/14   Page 4 of 10 PageID #: 4651
Case 2:11-cr-00002   Document 1795   Filed 10/24/14   Page 5 of 10 PageID #: 4652
Case 2:11-cr-00002   Document 1795   Filed 10/24/14   Page 6 of 10 PageID #: 4653
Case 2:11-cr-00002   Document 1795   Filed 10/24/14   Page 7 of 10 PageID #: 4654
Case 2:11-cr-00002   Document 1795   Filed 10/24/14   Page 8 of 10 PageID #: 4655
Case 2:11-cr-00002   Document 1795   Filed 10/24/14   Page 9 of 10 PageID #: 4656
Case 2:11-cr-00002   Document 1795   Filed 10/24/14   Page 10 of 10 PageID #: 4657
